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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

TERRY L. MCMILLAN,              §
                                §
   Plaintiff/Counter-Defendant, §
                                §
v.                              §                                 Civil Action No. 1:22-cv-00625
                                §
AMERICAN ADVISORS GROUP C/O     §
REVERSE MORTGAGE FUNDING LLC, §
                                §
   Defendant/Counter-Plaintiff. §

DEFENDANT’S ORIGINAL ANSWER AND COUNTERCLAIM AGAINST PLAINTIFF

        Defendant/Counter-Plaintiff American Advisors Group1 (“Defendant” or “AAG”) files

this its Original Answer to Plaintiff’s Original Petition and Stay of Order to Proceed with

Expedited Foreclosure under Tex. Rule Civil Procedure 736 in Cause No. 37677 (the “Petition”)

and Counterclaim Against Plaintiff Terry L. McMillan (“Plaintiff” or “McMillan”) for an order

for foreclosure, and states as follows:

                                                 I. ANSWER

        1.       With respect to the statements and allegations in Paragraph 1 of the Petition,

Defendant states Texas Rule of Civil Procedure 736.11 and the time of filing of the Petition

speak for themselves.

        2.       With respect to the statements and allegations in Paragraph 2 of the Petition,

Defendant admits the subject property is located in Washington County, Texas and further states

the United States District Court for the Western District of Texas is a court of proper jurisdiction


1
  Although Plaintiff names Reverse Mortgage Funding LLC in the caption of the Petition, the body of the Petition
only asserts allegations against Defendant American Advisors Group. Therefore, Reverse Mortgage Funding LLC is
not a party to this action. Naming some parties in the caption but not in the body of the petition does not make
them parties to the action. DeNina v. Bammel Forest Civic Club, Inc., 712 S.W. 2d 195, 196-97 (Tex. App.—
Houston [14th Dist.] 1986, no writ).

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and proper venue lies in this, the Austin Division.

        3.       Defendant does not have sufficient information to admit or deny the statements

and allegations in Paragraph 3 of the Petition. To the extent a response is required, denied.

        4.       With respect to the statements and allegations in Paragraph 4 of the Petition,

Defendant admits AAG is a foreign corporation. Defendants further state that AAG was not

served in this action but voluntarily appeared and filed a Notice of Removal. Otherwise, the

statements and allegations contained in Paragraph 4 are denied.

        5.       Defendant admits the statements in Paragraph 5 of the Petition.

        6.       Defendant denies the statements and allegations in Paragraph 6 of the Petition and

demand strict proof thereof.

        7.       Defendant admits the statements in Paragraph 7 of the Petition.

        8.       Defendant admits the statements in Paragraph 8 of the Petition.

        9.       With respect to the statements and allegations in Paragraph 9 of the Petition,

Defendant states Texas Rule of Civil Procedure 736.8 and the time of filing of the Petition speak

for themselves.

        10.      Defendant incorporates their prior answers herein.

        11.      Paragraph 11 of the Petition contains a legal conclusion. To the extent a response

is required, Defendant denies Plaintiff is entitled to the relief requested in Paragraph 11 of the

Petition.

        12.      Paragraph 12 of the Petition contains a legal conclusion. To the extent a response

is required, Defendant denies Plaintiff is entitled to the relief requested in Paragraph 12 of the

Petition.

        13.      Defendant denies the statements and allegations in Paragraph 13 of the Petition



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and demand strict proof thereof.

        14.      Defendant denies the statements and allegations in Paragraph 14 of the Petition

and demand strict proof thereof. Defendant further denies Plaintiff is entitled to the relief

requested in Paragraph 14 of the Petition.

        15.      Defendant denies Plaintiff is entitled to the relief requested in Paragraph 15 of the

Petition.

        16.      Defendant denies Plaintiff is entitled to the relief requested in Paragraph 16 of the

Petition.

        17.      Paragraph 17 of the Petition contains a statement regarding discovery under the

Texas Rules of Civil Procedure, which are not applicable to this action now pending in this court.

        18.      Paragraph 18 of the Petition contains a statement regarding discovery under the

Texas Rules of Civil Procedure, which are not applicable to this action now pending in this court.

        19.      Defendants denies the statements and allegations in Paragraph 19 of the Petition

and demands strict proof thereof.

        20.      Paragraph 20 of the Petition contains a statement regarding damages under the

Texas Rules of Civil Procedure, which is not applicable to this action now pending in this court.

To the extent that a response is required, Defendant denies the statements and allegations in

Paragraph 20 of the Petition and demands strict proof thereof. Defendant further denies Plaintiff

is entitled to the relief requested in Paragraph 20 of the Petition.

        21.      With respect to the Prayer of the Petition, Defendant denies Plaintiff is entitled to

any of the relief requested.

                 a. Defendant denies Plaintiff is entitled to the of the relief requested in subpart a.

                    of the Prayer.



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                  b. Defendant denies Plaintiff is entitled to the of the relief requested in subpart b.

                     of the Prayer.



                  c. Defendant denies Plaintiff is entitled to the of the relief requested in subpart c.

                     of the Prayer.

                  d. Defendant denies Plaintiff is entitled to the of the relief requested in subpart d.

                     of the Prayer.

                  e. Defendant denies Plaintiff is entitled to the of the relief requested in subpart e.

                     of the Prayer.

                                      II. AFFIRMATIVE DEFENSES

        Defendant raises the following defenses:

        1.        Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, because Plaintiff has failed to state a claim upon which relief may be granted.

        2.        Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, because one or more of the material obligations of the note and security instrument have not

been satisfied.

        3.        Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the equitable doctrine of waiver.

        4.        Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the Parol Evidence Rule.

        5.        Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the applicable statute of limitations.




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       6.       Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the waiver provisions contained in the security instrument at issue in this lawsuit.

       7.       Any alleged wrongful acts or omissions of Defendant, if and to the extent such

acts or omissions occurred, were legally excused or justified and were not intentional and

resulted from a bona fide error notwithstanding the maintenance of procedures reasonably

adapted to avoid any such error.

       8.       Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the failure of a condition precedent.

       9.       Defendant’s actions and omissions were undertaken in good faith, with the

absence of malicious intent to injure Plaintiff, and constitute lawful, proper, and justified means

to further the business purposes of Defendants. Any purported conduct of individuals who were

or are agents of Defendant was privileged, and those individuals were and are justified in

engaging in the conduct attributed to them. Defendant pleads all statutory and common law

privileges that may apply to its conduct and those of its agents.

       10.      While Defendant denies that Plaintiff suffered any injury, any injury sustained by

Plaintiff is the result of the acts or omissions of third parties, over which Defendant exercised no

control.

       11.      While Defendant denies that Plaintiff suffered any damages, Plaintiff’s damages,

if any, were proximately caused by the acts, omissions, or breaches of other persons and entities,

including Plaintiff, and said acts, omissions, or breaches were intervening and superseding

causes of Plaintiff’s damages, if any.

       12.      Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the “one satisfaction” and “con-tort” doctrines.



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        13.      Some or all of Plaintiff’s claims and causes of action are barred, in whole or in

part, by the “economic loss” doctrine.

        14.      Plaintiff failed to mitigate and/or minimize his purported damages.

        15.      Defendant claims all offsets and credits available to them.

        16.      Some or all of Plaintiff’s claims and causes of action fail for lack of

consideration.

        17.      Some or all of Plaintiff’s claims and causes of action are barred by the doctrines

of judicial estoppel, res judicata, and collateral estoppel.

        18.      Some or all of Plaintiff’s claims and causes of action are barred by Plaintiff’s

prior breach of contract.

        19.      Some or all of Plaintiff’s claims and causes of action are barred by the doctrine of

equitable estoppel.

        20.      Plaintiff’s claims must fail due to the failure to tender all amounts admittedly

owed.

        21.      Plaintiff fails to state a claim upon which relief may be granted.

        22.      Defendant reserves the right to assert any defenses, affirmative defense(s), and

matter(s) in avoidance as may be disclosed during the course of additional investigation and

discovery.

                           III. COUNTERCLAIM AGAINST PLAINTIFF

        A.       Parties

        1.       Defendant/Counter-Plaintiff American Advisors Group (“Defendant” or “AAG”)

has previously appeared herein through the undersigned counsel.




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       2.      Plaintiff/Counter-Defendant Terry L. McMillan (“Plaintiff” or “McMillan”) has

previously appeared herein and may be served through his counsel of record.

       B.      Property

       3.      This proceeding concerns the real property and improvements commonly known

as 14141 Dove Lane, Washington, Texas 77880 and more particularly described as:

               THE LAND DESCRIBED HEREIN IS SITUATED IN THE
               STATE OF TEXAS, COUNTY OF WASHINGTON,
               DESCRIBED AS FOLLOWS: A METES & BOUNDS
               DESCRIPTION OF A CERTAIN 9.81 ACRE TRACT OF LAND
               SITUATED IN THE MARY ANNA EARLY SURVEY,
               ABSTRACT NO. 40 WASHINGTON COUNTY, TEXAS,
               BEING A PORTION OF A CALLED 9.976 ACRE TRACT OF
               LAND CONVEYED TO TERRY L. MCMILLAN, BY SPECIAL
               WARRANTY DEED, RECORDED IN VOLUME 1337, PAGE
               836 OF THE OFFICIAL RECORDS OF WASHINGTON
               COUNTY (ORWC), TEXAS, BEING MORE PARTICULARLY
               DESCRIBED AS FOLLOWS WITH ALL BEARINGS BEING
               BASED ON THE TEXAS COORDINATE SYSTEM, CENTRAL
               ZONE, NAD 83. BEGINNING AT A FOUND 3/8-INCH IRON
               ROD MARKING THE SOUTHWEST CORNER OF A
               REMAINDER TRACT OF A CALLED 122.72 ACRES
               CONVEYED BY SPECIAL WARRANTY DEED TO IDA MAE
               PARKER REVOCABLE LIVING TRUST, VOLUME 1218,
               PAGE 663 OF THE ORWC, AND MARKING AN ANGLE
               POINT IN THE EAST LINE OF A CALLED 21.34 ACRE
               TRACT (TRACT B, EXHIBIT "A") CONVEYED TO DIANE
               BOGGAN AND HUSBAND CHARLES E. BOGGAN BY
               WARRANTY DEED RECORDED IN VOLUME 1408, PAGE 57
               OF THE OFFICIAL RECORDS OF WASHINGTON COUNTY,
               TEXAS, AND BEING THE NORTHWEST CORNER OF SAID
               9.976 ACRE TRACT AND BEING THE NORTHWEST
               CORNER OF THE HEREIN DESCRIBED 9.81 ACRE TRACT;
               THENCE NORTH 86 DEGREES 06 MINUTES 29 SECONDS
               EAST, ALONG THE SOUTH LINE OF SAID REMAINDER
               TRACT, 576.07 FEET TO A FOUND 3/8-INCH IRON ROD
               MARKING THE NORTHWEST CORNER OF A CALLED 5.000
               ACRE TRACT OF LAND CONVEYED TO ZACHARY
               WAGNER AND WHITNEY HUGHES BY WARRANTY DEED
               WITH VENDOR`S LIEN RECORDED IN VOLUME 1258,
               PAGE 822 OF THE OFFICIAL RECORDS OF WASHINGTON
               COUNTY, TEXAS, AND BEING THE NORTHEAST CORNER


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            OF THE HEREIN DESCRIBED 9.81 ACRE TRACT; THENCE
            SOUTH 03 DEGREES 21 MINUTES 53 SECONDS EAST,
            ALONG THE WEST LINE OF SAID 5.000 ACRE TRACT,
            747.02 FEET TO A SET 5/8-INCH IRON ROD (WITH CAP
            STAMPED "JONES & CARTER"), MARKING THE
            SOUTHWEST CORNER OF SAID 5.000 ACRE TRACT, THE
            SOUTHEAST CORNER OF THE HEREIN DESCRIBED 9.81
            ACRE TRACT AND BEING IN THE NORTH RIGHT-OF-WAY
            OF DOVE LANE; THENCE SOUTH 86 DEGREES 36
            MINUTES 48 SECONDS WEST, ALONG SAID RIGHT-OF-
            WAY, 203.55 FEET TO A FOUND 1/2-INCH IRON ROD
            MARKING THE BEGINNING OF A NON-TANGENT CURVE
            TO THE LEFT; THENCE CONTINUING ALONG SAID
            NORTH RIGHT-OF-WAY, ALONG SAID CURVE TO THE
            LEFT HAVING A RADIUS OF 50.00 FEET, AN ARC LENGTH
            OF 92.76 FEET, A DELTA ANGLE OF 106 DEGREES 17
            MINUTES 22 SECONDS, A CHORD BEARING OF SOUTH 86
            DEGREES 40 MINUTES 17 SECONDS WEST, AND A CHORD
            LENGTH OF 80.02 FEET, TO A FOUND 5/8-INCH IRON ROD
            (WITH CAP STAMPED "HODDE"), MARKING THE MOST
            EASTERLY CORNER OF A CALLED 1.379 ACRE TRACT
            (TRACT F, EXHIBIT "C") CONVEYED BY WARRANTY
            DEED TO DIANE BOGGAN AND HUSBAND CHARLES E.
            BOGGAN, RECORDED IN VOLUME 1408, PAGE 57 OF THE
            OFFICIAL RECORDS OF WASHINGTON COUNTY, TEXAS;
            THENCE SOUTH 86 DEGREES 46 MINUTES 39 SECONDS
            WEST, ALONG THE NORTH LINE OF SAID 1.379 ACRE
            TRACT, 292.11 FEET TO A FOUND 3/8-INCH IRON ROD
            (WITH CAP STAMPED "RPLS 5935"), MARKING AN ANGLE
            POINT IN THE NORTHERLY LINE OF SAID 1.379 ACRE
            TRACT,    THE    SOUTHEAST     CORNER      OF  THE
            AFOREMENTIONED 21.34 ACRE TRACT AND THE
            SOUTHWEST CORNER OF THE HEREIN DESCRIBED 9.81
            ACRE TRACT; THENCE NORTH 03 DEGREES 23 MINUTES
            38 SECONDS WEST, ALONG THE WEST LINE OF SAID
            21.34 ACRE TRACT, 741.02 FEET TO THE POINT OF
            BEGINNING, CONTAINING 9.81 ACRES OF LAND, IN
            WASHINGTON COUNTY, TEXAS. (the “Property”).




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       C.       Jurisdiction and Venue

       4.       There is diversity jurisdiction in this Court because there is complete diversity of

citizenship between Plaintiff and AAG, and more than $75,000.00 is in controversy, exclusive of

interest and costs. 28 U.S.C. § 1332.

       5.       The amount in controversy exceeds the sum or value of $75,000.00. The value of

the Property exceeds $75,000.00.

       6.       Venue is proper in this Court because the Property is located in Washington

County, Texas.

       D.       Facts

       7.       The foregoing paragraphs are incorporated by reference for all purposes.

       8.       On or about April 25, 2016, Plaintiff executed an Adjustable-Rate Note (Home

Equity Conversion) (the “Note”) in favor of American Advisors Group in the original principal

amount of up to $307,500.00.

       9.       Contemporaneously with the Note, Plaintiff executed an Adjustable Rate Home

Equity Conversion Deed of Trust (the “Deed of Trust” and together with the Note, the “Loan

Agreement”), granting American Advisors Group, its successor and assigns, a first lien on the

Property. The Deed of Trust was indexed and recorded in the official records of Washington

County, Texas under Book No. 1541 Pages Numbers 0546-0563.

       10.      The Loan Agreement provides that should Plaintiff fail to make payments on the

Loan Agreement as they became due and payable, or should Plaintiff fail to comply with any or

all of the covenants and conditions of the Deed of Trust, then the lender may enforce the Loan by

selling the Property pursuant to applicable law and in accordance with the provisions set out

therein.



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       11.     Plaintiff failed to make his taxes and/or insurance under the terms of the Loan.

       12.     On July 21, 2020, AAG sent a Mortgage Due & Payable Notification, notifying

Plaintiff of the default on the Loan Agreement and intent to accelerate the Note, to Plaintiff in in

accordance with the terms of the Loan Agreement and the Texas Property Code.

       13.     The default was not cured, and the maturity of the debt was accelerated. Notice of

Acceleration was provided to Plaintiff on August 17, 2021 in accordance with the terms of the

Loan Agreement and the Texas Property Code.

          E.   Cause of Action: Suit for Foreclosure

       14.     The foregoing paragraphs are incorporated by reference for all purposes.

       15.     AAG asserts a cause of action for foreclosure against Plaintiff. The Loan is a

contract, and AAG fully performed its obligations under it. Plaintiff, however, did not comply

with the Loan by failing to substantially perform material obligations required under its terms

(principally, the payment of taxes and/or insurance due under the contract, among others).

       16.     AAG seeks a judgment for judicial foreclosure allowing it to enforce its lien

against the Property in accordance with the Security Instrument and Texas Property Code section

51.002.

       17.     Alternatively, AAG seeks a judgment for foreclosure together with an order of

sale issued to the Washington County sheriff or constable, directing the sheriff or constable to

seize and sell the Property in satisfaction of the Loan Agreement debt, pursuant to Texas Rule of

Civil Procedure 309.

       18.     AAG has been forced to hire the undersigned attorneys to seek an order allowing

foreclosure as a result of Plaintiff’s failure to comply with the Loan. AAG is therefore entitled to

and seeks judgment against Plaintiff for its reasonable attorney fees in this action, both through



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trial and in the event of a subsequent appeal, as further obligation on the debt under the Loan

only and not as a personal judgment against Plaintiff.

       19.     All conditions precedent to AAG’s right to enforce the Loan and to obtain the

relief requested herein have been performed or have occurred.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays the Court enter

judgment granting:

       a. Plaintiff take nothing on his claims;

       b. a declaration that the following are secured by the Deed of Trust on the Property: (i)
          the outstanding balance of the Note; (ii) prejudgment interest; (iii) post-judgment
          interest from the date of judgment until paid; and (iv) costs of court; and a
          declaration that AAG’s lien against the Property shall be enforced by a judgment
          confirming foreclosure under the Deed of Trust’s power-of-sale provision or,
          alternatively, by judicial foreclosure with an order of sale issued to the Washington
          County sheriff or constable, directing the sheriff or constable to seize and sell the
          Property in satisfaction of the Loan debt, pursuant to Texas Rule of Civil Procedure
          309;

       c. award Defendant its attorney fees and costs of suit, as further obligation on the debt
          under the Loan only and not as a personal judgment against Plaintiff; and

       d. all other relief, in law and in equity, to which Defendant is entitled.




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                                                   Respectfully submitted,

                                                By: /s/ Nicholas M. Frame
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                                               ATTORNEYS FOR
                                               DEFENDANT/COUNTER-PLAINTIFF


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
via regular U.S. mail on June 27, 2022 on the following counsel of record:

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                                                   /s/ Nicholas M. Frame
                                                   NICHOLAS M. FRAME




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